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                                   Laura Davis Jones           October 27, 2021            ljones@pszjlaw.com
                                                                                                 302.778.6401




W I L M I N G T O N, D E
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
                                  VIA CM/ECF AND HAND DELIVERY
N E W Y O R K, N Y
C O S T A M E S A, C A
                                  The Honorable Colm F. Connolly
919 NORTH MARKET STREET           U.S. District Court for the District of Delaware
17th FLOOR                        J. Caleb Boggs Federal Building
P.O. BOX 8705
WILMINGTON
                                  844 N. King Street
DELAWARE 19899-8705               Unit 31, Room 4124
TELEPHONE: 302/652 4100
                                  Wilmington, Delaware 19801-3555
FACSIMILE: 302/652 4400
                                  Re: Youngman, et al. v. Yucaipa American Alliance Fund I,
LOS ANGELES                       L.P. et al. (Civil Action No. 21-cv-1060)
10100 SANTA MONICA BLVD.
13th FLOOR                        Dear Chief Judge Connolly:
LOS ANGELES
CALIFORNIA 90067
                                  Our firm together with Glaser Weil represents Yucaipa American
TELEPHONE: 310/277 6910
                                  Alliance Fund I, L.P. and Yucaipa American Alliance (Parallel)
FACSIMILE: 310/201 0760
                                  Fund I, L.P.S (collectively, “Yucaipa”) in the Bankruptcy Rule 9033
                                  submission as to Adversary Proceeding No. 14-50971 (CSS) (Civil
SAN FRANCISCO
150 CALIFORNIA STREET
                                  Action No. 21-cv-1060) (the “Rule 9033 Proceeding”).                In
15th FLOOR                        connection therewith, we request that the Court consider the validity
SAN FRANCISCO                     of the two prior rulings of the Bankruptcy Court detailed below that
CALIFORNIA 94111-4500
                                  adversely affected Yucaipa’s ability to assert viable defenses against
TELEPHONE: 415/263 7000           the claims at issue in the Rule 9033 Proceeding.
FACSIMILE: 415/263 7010


                                  Specifically, the Rule 9033 Proceeding relates to the Bankruptcy
NEW YORK
                                  Court’s entry of an order directing entry of summary judgment in
780 THIRD AVENUE
34th FLOOR
                                  favor of Plaintiff and against Yucaipa on a Claim for Relief for
NEW YORK
NEW YORK 10017-2024

TELEPHONE: 212/561 7700

FACSIMILE: 212/561 7777



COSTA MESA
650 TOWNE CENTER DRIVE
SUITE 1500
COSTA MESA
CALIFORNIA 92626

TELEPHONE: 714/384 4750

FACSIMILE: 714/384 4751



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                    Breach of Contract (“Lender Claim 2”).1                    Other Lender Claims
                    remain to be litigated.2

                    Concurrently, Yucaipa has filed appeals pending before this Court
                    as to a partial summary judgment entered by the Bankruptcy Court
                    in favor of the Trustee and against Yucaipa for breach of the same
                    contract (“Estate Claim 5”) based on the same underlying facts in a
                    related adversary proceeding (Adversary No. 13-50530 (CSS)) (the
                    “Estate Claims”).3

                    With respect to this Rule 9033 Proceeding, Yucaipa filed its
                    Defendants Yucaipa American Alliance Fund I, L.P. and Yucaipa
                    American Alliance (Parallel) Fund I, L.P.’s Objections to the
                    Bankruptcy Court’s May 4, 2021 Summary Judgment Opinion and
                    Order [Federal Rule of Bankruptcy Procedure 9033] [Adv. Dkt.
                    No. 566] (the “9033 Objection”), objecting, in relevant part, to the
                    Bankruptcy Court’s proposed findings of fact and conclusions of
                    law and recommendation, styled as an Opinion [Adv. Dkt. No. 563]
                    and Order [Adv. Dkt. No. 564] granting summary judgment as to
                    Lender Claim 2 in favor of the Trustee and against Yucaipa.

                    In connection with this Court’s de novo review of the Bankruptcy
                    Court’s findings of fact and conclusions of law as to Lender Claim
                    2, we wish to emphasize two distinct interlocutory orders (the “Prior
                    Interlocutory Orders”) which operated to wrongfully preclude
                    Yucaipa from raising substantial affirmative defenses in opposition
                    to the Plaintiff’s motion for summary judgment on Lender Claim 2

                    1
                      Prior to Litigation Trustee Catherine E. Youngman (the “Trustee”) becoming
                    Plaintiff as to the Lender Claims, as successor in interest, the original Plaintiffs in
                    Adversary Proceeding No. 14-50971 asserting the Lender Claims were lenders
                    BDCM Opportunity Fund II, LP and Black Diamond CLO 2005-1 Ltd.
                    (collectively “Black Diamond”) and Spectrum Commercial Finance LLC
                    (“Spectrum,” and collectively with Black Diamond the “Lenders”).
                    2
                      Lender Claim 1 for Equitable Subordination and Lender Claim 3 for Breach of
                    the Duty of Good Faith and Fair Dealing are reserved for trial, which is presently
                    scheduled for February 7, 2022.
                    3
                      In the appeals (Civil Action Nos. 21-cv-944 and 21-cv-995), Yucaipa also
                    challenges the partial summary judgments entered against it on Estate Claims 10
                    and 11 for Avoidance of Fraudulent Transfers and Estate Claim 13 for
                    Disallowance of Claim. Remaining Estate Claims 1 and 2 for Equitable
                    Subordination and Estate Claim 7 for Breach of Fiduciary Duty are also set for
                    trial on February 7, 2022.

                                                               2
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                    and were, therefore, neither part of the summary judgment briefing
                    nor the Opinion and Order subject to the Rule 9033 Proceeding.4

                    Those Prior Interlocutory Orders can be summarized as follows:

                    1.      Order Dismissing Counterclaim

                    On March 18, 2015, the Lenders filed a Motion to Dismiss
                    Yucaipa’s Counterclaim for Equitable Subordination filed as against
                    the Lenders [Adv. Dkt. No. 41]. Following briefing and argument,
                    on August 21, 2015, the Bankruptcy Court issued an Opinion and
                    Order Granting Plaintiff’s Motion to Dismiss Yucaipa’s
                    Counterclaim for Equitable Subordination [Adv. Dkt. Nos. 82, 83].

                    Within fourteen (14) days after entry of that Opinion and Order,
                    Yucaipa filed a Notice of Interlocutory Appeal and related Motion
                    for Leave to Appeal [Adv. Dkt. Nos. 89, 90]. On November 16,
                    2015, the District Court denied the Motion for Leave to Appeal (as
                    well as a then pending motion to withdraw the reference). A listing
                    of the pleadings and orders relating to this interlocutory order
                    included in the 9033 Transmittal are set forth in Appendix A hereto.

                    Yucaipa contends that its Counterclaim [Adv. Dkt. No. 33] and
                    Yucaipa’s opposition to the Lenders’ motion to dismiss same [Adv.
                    Dkt. No. 56], set forth substantial facts detailing egregious
                    inequitable conduct entitling it to relief—and which also form the
                    basis for several of Yucaipa’s affirmative defenses to Lender Claim
                    2. At the least, these facts presented triable issues of fact that could
                    have been asserted in defense to the partial summary judgment
                    motion absent a prior order by the Bankruptcy Court prohibiting
                    that. Accordingly, the propriety of the Bankruptcy Court’s August
                    21, 2015 ruling—which also formed the basis for the Court’s
                    dismissal of Yucaipa’s affirmative defenses, as discussed in the

                    4
                       In its Notice of Completion of Briefing in Bankruptcy Court and Request for
                    Transmittal to the District Court for the District of Delaware [Adv. Dkt. No.600];
                    Civil Action No. 21-cv-1060 [Dkt. No. 1(7)] (the “9033 Transmittal”), Yucaipa
                    requested, pursuant to Federal Rule of Bankruptcy Procedure 9033(b), that the
                    clerk of the Bankruptcy Court prepare and transmit to the District Court a
                    transcription of the record in the adversary proceeding containing pleadings and
                    orders relating to those two Prior Interlocutory Orders.


                                                            3
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                    following paragraph—necessarily bears on the Court’s de novo
                    review of the Bankruptcy Court’s order granting summary judgment
                    in favor of the Trustee on Lender Claim 2. It should, therefore, be
                    considered in connection with the Rule 9033 Proceeding.

                    2.      Interlocutory Order Striking Yucaipa’s Affirmative Defenses

                    Thereafter, in the context of a discovery dispute, the Trustee, as
                    successor-in-interest to the Lenders, moved the Bankruptcy Court to
                    strike certain affirmative defenses asserted by Yucaipa against the
                    Lenders’ Claims, including the affirmative defenses of unclean
                    hands, waiver, estoppel, consent, and laches. The motion to strike
                    was in large part based on the interlocutory order granting the
                    motion to dismiss the Counterclaim. After briefing, and without
                    announcing the basis for its decision, on January 18, 2017, the
                    Bankruptcy Court entered an order granting the Motion to Strike
                    Certain Affirmative Defenses [Adv. Dkt. No. 194].

                    Again, within fourteen (14) days after the entry of that Order,
                    Yucaipa filed a Notice of Interlocutory Appeal and Motion for
                    Leave to Appeal [Adv. Dkt. Nos. 196, 197]. On June 27, 2017, the
                    District Court issued its Memorandum Order denying Yucaipa leave
                    to appeal that interlocutory order. A listing of the pleadings and
                    orders relating to this interlocutory order included in the 9033
                    Transmittal are set forth in Appendix B hereto.

                    The Bankruptcy Court’s striking of the aforementioned affirmative
                    defenses, which at the very least presented triable issues of material
                    fact, unfairly deprived Yucaipa of the opportunity to present
                    testimony of the relevant witnesses and conduct cross-examination
                    in a setting where the Bankruptcy Court would have the opportunity
                    to gauge witness credibility and potentially find in Yucaipa’s favor.
                    The propriety of the Bankruptcy Court’s order eliminating
                    affirmative defenses to, among other claims, Lender Claim 2 is
                    central to the Court’s de novo review of whether the Trustee is
                    entitled to summary judgment on that claim.

                    Because Yucaipa was precluded from addressing the Prior
                    Interlocutory Orders in the context of the summary judgment
                    proceeding, those orders were also not addressed in the Opinion or
                    Order granting summary judgment in favor of the Trustee on Lender

                                                      4
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                    Claim 2. The Prior Interlocutory Orders should nonetheless be
                    considered by this Court when reviewing de novo the Bankruptcy
                    Court’s proposed findings of fact and conclusions of law and
                    recommendation, as they would be considered if the Bankruptcy
                    Court had jurisdiction to enter a final judgment and such
                    interlocutory orders had merged into that judgment on appeal.

                    We thank the Court in advance for your attention to this matter.


                                                  Respectfully submitted,

                                                  /s/ Laura Davis Jones

                                                  Laura Davis Jones
                                                  Pachulski Stang Ziehl & Jones LLP

                                                  Counsel for Yucaipa




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